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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

LaShawn Ezell, et al.
                                Plaintiff,
v.                                                   Case No.: 1:18−cv−01049
                                                     Honorable Virginia M. Kendall
City of Chicago, et al.
                                Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 1, 2022:


         MINUTE entry before the Honorable Virginia M. Kendall. Status hearing set for
2/2/2022 is reset for 9:15 AM (PLEASE NOTE TIME CHANGE) and will now proceed
via WEBEX. Prior to the hearing, you are directed to click on this hyper link:
https://us−courts.webex.com/join/virginia_kendalli lnd.uscourts.gov. If you do not have
access to a computer Dial: (650)−479−3207, the access code is: 180 698 4009. Given the
increased volume of users that is anticipated, you are directed to mute your phone and turn
off your video until your case is called. If calling in due to not having access to a
computer, please remember to SAY YOUR NAME EACH TIME YOU SPEAK so that
the record of the proceedings is accurate. You are directed not to use the speaker phone
function. Please test the sound quality and video functions of your device in advance.
Members of the public and media are directed to call in to listen to hearings. Persons
granted remote access to proceedings are reminded of the general prohibition against
photographing, recording, and rebroadcasting of court proceedings. Violation of these
prohibitions may result in sanctions, including removal of court issued media credentials,
restricted entry to future hearings, denial of entry to future hearings, or any other sanctions
deemed necessary by the Court. Participant instructions for Webex are attached. Mailed
notice(lk, )




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